Case 1:19-cv-01508-MN Document 87-1 Filed 10/27/20 Page 1 of 3 PageID #: 2547




                     Exhibit A
Case 1:19-cv-01508-MN Document 87-1 Filed 10/27/20 Page 2 of 3 PageID #: 2548




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 PUREWICK CORPORATION,                         )
                                               )
        Plaintiff/Counterclaim Defendant,      )
                                               )          C.A. No. 19-1508-MN
 v.                                            )
                                               )
 SAGE PRODUCTS, LLC,                           )
                                               )
        Defendant/Counterclaim Plaintiff.      )
                                               )


                 ORDER FOR CLAIM AND PRIOR ART NARROWING

       At Wilmington, this ___ day of _______________, 2020, having considered the parties’

proposal for narrowing the asserted claims and prior art, IT IS HEREBY ordered that:

       1. On or before November 24, 2020, Plaintiff shall narrow the number of asserted claims

          to no more than 32 and shall identify those claims to Defendant. Plaintiff may select

          these claims from any of the asserted patents and there is no per-patent limit.

       2. On or before December 18, 2020, Defendant shall narrow the number of prior art

          references to no more than 35 total references and shall identify those references to

          Plaintiff. In addition, on or before December 18, 2020, Defendant shall identify to

          Plaintiff no more than 130 prior art combinations that may be used for arguing

          obviousness. A “prior art combination” shall be understood to be a combination of two

          or more prior art references per claim. Thus, for example, if two prior art references

          are combined to argue obviousness for three different claim, this would count as three

          prior art combinations (even though each combination consists of the same two

          references). In addition, combinations that are listed as “and/or” alternatives (for

          example, “A and/or B and/or C”) shall constitute as many combinations as can be
Case 1:19-cv-01508-MN Document 87-1 Filed 10/27/20 Page 3 of 3 PageID #: 2549




        formed based on what is stated. There is no per-patent limit on the number of prior art

        combinations or prior art references.

     3. On or before August 6, 2021, Plaintiff shall further narrow the number of asserted

        claims to no more than 16 and shall identify those claims to Defendant. Plaintiff may

        select these claims from any of the asserted patents and there is no per-patent limit.

     4. On or before August 20, 2021, Defendant shall narrow the number of prior art

        references to no more than 20 total references and 48 prior art combinations that may

        be used for arguing obviousness, and shall identify those references and combinations

        to Plaintiff. There is no per-patent limit on the number of prior art combinations or

        prior art references.

     5. The parties will only be permitted to modify their elections made pursuant to this Order

        for good cause.



                                                _____________________________________
                                                United States District Judge




                                                2
